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Judge Hilton, Attachment, March 3,2023

Re: Julian Assange prosecution under the Espionage Act. Reference: USA v. Assange - Julian
Paul Assange No. 1:18-cr-111.

This is a supplement to my message to the Department of Justice on November 29,2022.

I am administrator of the United States-based website Cryptome.org, aka "Cryptome," a free
public library publishing since 1996.1 am a United States citizen with address at 251 West 89th
Street, Unit 6E,New York, NY 10024. Telephone: 212-873-8700.

An informational caption at the Cryptome website opening page states:

"Cryptome welcomes documents for publication that are prohibited by governments worldwide,
in particular material on freedom ofexpression, privacy, cryptology, dual-use technologies,
national security, intelligence, and secret governance ~ open, secret and classified documents ~
but not Umited to those. Documents are removed from this site only by order served directly by a
US court having jurisdiction. No court order has ever been served; any order served will be
published here — or elsewhere if gagged by order. Bluffs will be published if comical but
otherwise ignored."

Cryptome has published a number ofclassified documents including those from the United
States, the United Kingdom, and Japan. There has been no order from US officials to remove the
documents, although there have been several informal requests from the FBI and the US Secret
Service, along with visits to Cryptome's office. The FBI and Secret Service officials have stated
that publication of the classified documents is not illegal in the US. Examples:

https://cryptDme.org/fbi-cr3q)tome6.htm
https://ciyptome.org/2013/06/usss-cryptome.htm
https://ciyptome.org/psia-lists-jp.htm

I respectfully request that the Department of Justice add this message to my request to add me as
a co-defendant in the prosecution of Mr. Assange under the Espionage Act.

Sincerely,

John Young
